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                        UNITED STATES DISTRICT
                        COURT FOR THE DISTRICT OF
                        COLUMBIA


UNITED STATES OF AMERICA,              )
                                       )
      v.                               )       No. 21-091 (RCL)
                                       )
ISAAC STEVE STURGEON,                  )
                                       )
                   Defendant.          )
                                       )

                  RENEWED MOTION TO CONTINUE TRIAL

      Defendant, Isaac Sturgeon, through counsel, respectfully requests that the

Court re-consider its decision to deny his motion to continue trial and grant a

continuance of the currently scheduled trial date of May 15, 2023.

                                    BACKGROUND

      On August 9, 2023, the Court set a jury trial for May 15, 2023, and set

motion deadlines. The parties filed several motions, some of which are still

outstanding, and one of which has been resolved. When the parties set this trial

date, counsel for Mr. Sturgeon did not know of many unavoidable conflicts that

would arise over the next several months – including a trip outside of the country

that would require her to travel on May 18 and not return until May 21. Based on

these conflicts, counsel for Mr. Sturgeon discussed a trial continuance with counsel

for Mr. Bingert and the government, both of whom did not oppose a continuance of

the May 15, 2023 trial date. Furthermore, all defendants remain on personal

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recognizance bond and have been compliant. Based on the parties agreement at

that time, counsel for Mr. Sturgeon filed an Unopposed Motion to Continue Trial

on February 28, 2023.

      At a status hearing on March 23, 2023, the Court denied Mr. Sturgeon’s

request for a continuance of his currently scheduled trial date stating, however,

that it would try to accommodate his counsel’s schedule. The Court also ordered

the parties to propose a briefing schedule for the May 15, 2023, trial date and

submit it to the Court by this Thursday, March 28, 2023. In advance of that

deadline, Mr. Sturgeon respectfully requests the Court re-consider its decision to

deny his request for a continuance based on the following reasons.

                                       ARGUMENT

      Mr. Sturgeon requested a continuance of the trial date for several reasons.

Firstly, counsel for Mr. Sturgeon has travel plans - a wedding of a close friend who

decided her wedding date very recently and has arranged for it to be on May 20,

2023, in the Dominican Republic. Undersigned counsel was not aware of this

wedding date until February 11, 2023. In addition to the wedding on May 20, there

will be a dress rehearsal dinner on Friday, May 19, 2023 – requiring travel the

previous day on Thursday, May 18, 2023. Counsel for Mr. Sturgeon is in the bridal

party and has known this friend almost her entire life. While undersigned counsel

appreciates that the Court will try to accommodate her trip, it would be a burden

to Mr. Sturgeon and to Mr. Bingert to require them to spend additional money to

stay in hotels in the DMV area for longer in order to put a halt on trial until


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undersigned counsel returns. It would also be a burden to the defendants to

require them to travel home in the middle of trial only to have them travel back to

D.C. the following week. Mr. Sturgeon resides in Montana and Mr. Bingert resides

in Pennsylvania.

      Secondly, counsel for Mr. Sturgeon has several scheduled trials this year,

including two trials that are close in time to May 15, 2023. First, counsel has

another January 6 trial that has already been continued multiple times beginning

on June 12, 2023. Counsel then has another trial where the defendant is in custody

that is scheduled for July 17, 2023. While the Court is also busy and while we are

all very busy, it is imperative that undersigned counsel is adequately prepared for

each trial so that each defendant receives effective assistance of counsel.

Undersigned counsel has had three jury trials between November, 2022 and

February, 2023 – which has even further hampered her ability to adequately

prepare for upcoming trials, including Mr. Sturgeon’s case. Undersigned counsel

still has much preparation to complete in order to be adequately prepared for this

trial, including sifting through hours of video evidence to locate every possible

angle her client is viewed in, as well as the global common discovery that has been

provided as recently as this past week.

      Lastly, there are still several motions that are outstanding that will have an

impact on potential defenses as well as potential exhibits presented in this trial.

For example, Mr. Sturgeon filed a motion for transfer of venue as well as a motion

to present the public authority defense. The outcome of these motions will


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    undoubtedly have an influence on the defense presentation of evidence.

    Furthermore, Mr. Sturgeon has filed a motion to compel discovery as counsel

    believes there is still outstanding discovery that he is entitled to that has not yet

    been produced.

          Counsel for Mr. Sturgeon has discussed this request with Mr. Sturgeon, who

    also joins in his counsel’s request for a continuance for the reasons discussed above

    as well as to be able to meet together prior to trial to adequately prepare his

    defense.

          For all of these reasons, counsel for Mr. Sturgeon requests that the Court re-

    consider its decision and grant his request for a continuance of the trial currently

    scheduled for May 15, 2023. This is the first defense request for a continuance of

    the trial and is not done for the purpose of delay and is made in good faith.

          The parties have conferred and are available for trial the week of July 31,

    2023, and the week of August 7, 2023. If those dates are not available to the Court,

    the parties can confer further to propose additional dates. 1



                                                       Respectfully submitted,

                                                       A. J. KRAMER
                                                       FEDERAL PUBLIC DEFENDER

                                                                 /s/


                                                       Maria N. Jacob

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 In conferring with the government regarding its availability, the government mentioned that it does not take a
position on this renewed request for a continuance. Co-defendant counsel continues to consent to this request.

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                            D.C. Bar No. 1031486
                            Assistant Federal Public Defender
                            625 Indiana Avenue, N.W., Suite
                            550
                            Washington, D.C. 20004
                            (202) 208-7500
                            Maria_Jacob@fd.org




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